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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                                   Case No. 21-CR-00102-CVE

CURTIS ANTHONY JONES,

                      Defendant.

                          Unopposed Motion for Protective Order

        The United States of America moves the Court to enter a Protective Order for

     discovery and investigative materials in the above-captioned case. In support, the

     government offers as follows:

           1.     Pursuant to Local Criminal Rule 12.1(E), the United States advises the

     Court that the undersigned Assistant United States Attorney consulted with Terry L.

     Weber, counsel for the Defendant, regarding this motion, and he stated that he has

     no objection to this motion.

           2.     The government’s evidence in this case relies, in part, on information

     provided by cooperators. Information provided by cooperators is documented in law

     enforcement reports and grand jury transcripts, among other forms.

           3.     Additionally, this investigation includes audio and video recordings of

 cooperators or informants, and extractions from cellular telephones belonging to

 cooperators or informants. Extractions from cellular telephones contain large

 amounts of data that often contain evidence of criminal activity and personal

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 identifying information for the telephone’s owner and others who have

 communicated with the telephone’s owner.

        4.    The United States anticipates presenting additional indictments in cases

 related to the above-captioned case. The investigation that gave rise to the above-

 captioned case and that will give rise to those future indictments has been ongoing

 since at least 2019 and has included interviewing numerous cooperating witnesses,

 presenting the testimony of numerous cooperating witnesses before the Grand Jury,

 and downloading data from numerous cellular telephones.

        5.    Many of the forthcoming related cases will charge individuals who are

 members of criminal street gangs or criminal prison gangs. These gangs and their

 members often distribute large amounts of narcotics to further the goals of their

 criminal organizations. These gangs and their members also often use violence to

 carry out the goals of their criminal organizations.

        6.    In order to protect individuals who have provided assistance in the

 criminal investigation and who could potentially be targeted, threatened and

 intimidated,1 protect the ongoing investigation, prevent the destruction of evidence,


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        Cooperating witnesses and confidential informants are often regarded as
 “snitches” or “rats” by their criminal associates. Dissemination of these individuals’
 statements poses obvious dangers, especially where they are incarcerated in the same
 facility. The argument that letting the defendant read the material allows him to talk
 about what he read is no different than providing the written documents ignores the
 obvious when dealing with criminals. It is not the same kind of damage. Documentary
 evidence of a witness's betrayal is more compelling than a verbal statement because
 there is an actual writing or a piece of paper containing information which can
 facilitate retaliation or intimidation of a witness.

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 prevent targets from becoming fugitives, protect the sanctity and the secrecy of the

 grand jury process, prevent the intimidation of others who may have cooperated

 previously or are now cooperating, and protect the Government's attorney if he

 discloses to Defendant’s counsel, prior to trial, grand jury and other investigative

 materials which must be disclosed under normal circumstances pursuant to the

 dictates of the Jencks Act, 18 U.S.C. § 3500; Fed. R. Crim. P. 16; United States v.

 Giglio, 405 U.S. 150 (1972); and Brady v. Maryland, 373 U.S. 83 (1963), a protective

 order should be entered for all material provided to the defense, requiring that

 counsel shall not disseminate copies of this material to the Defendant or anyone

 outside the defense team.

       7.     Fed. R. Crim. P. 16(d)(1) provides that the Court may “for good cause,

 deny, restrict or defer discovery or inspection, or grant other appropriate relief.” Fed.

 R. Crim. P. 16(d)(1). The Supreme Court has noted that the courts may use

 protective orders to restrict the use of materials produced in discovery. Where

 appropriate, a trial court can and should place a defendant and his attorney under

 enforceable orders against unwarranted disclosure of the materials they may be

 entitled to inspect. Alderman v. United States, 394 U.S. 165, 185 (1969).

       8.     The government realizes all parties are working under difficult

 circumstances because of the ongoing COVID-19 pandemic. Defendants in custody

 are still allowed access to their counsel via electronic means. Additionally, jails are

 allowing in-person visits with increasing frequency as new COVID-19 infection rates

 continue to decline. Counsel has a means to review discovery with the necessary
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 limitations with in-custody clients.

       9.     In light of the ongoing nature of the investigation, the fact that not all

 targets of the investigation have yet been charged, the fact that not all targets of the

 investigation are currently in custody, and the extensive use of cooperating witnesses

 and informants in the investigation, a Protective Order is necessary in this case.


       WHEREFORE, the United States respectfully requests that the Court enter a

 protective order limiting the dissemination of discovery and investigative materials.



                                          CLINTON J. JOHNSON
                                          ACTING UNITED STATES ATTORNEY

                                          /s/ Thomas E. Duncombe
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                             CERTIFICATE OF SERVICE


    I hereby certify that on the 25th day of October, 2021, I electronically transmitted
 the foregoing document to the Clerk of the Court using the ECF System for filing
 and transmittal of a Notice of Electronic Filing to the following ECF registrant:

 Terry L. Weber,
 Counsel for Curtis Anthony Jones

                                                 /s/ Thomas E. Duncombe
                                                 Thomas E. Duncombe
                                                 Assistant United States Attorney

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